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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

PANTAURUS LLC,

                            Plaintiff,               Case No. 1:13-cv-544
v.
                                                     PATENT CASE
DATA LOCKER INC.,
                                                     JURY TRIAL DEMANDED
                             Defendant.

              ORDER GRANTING AGREED MOTION TO DISMISS WITH
                   PREJUDICE, PURSUANT TO SETTLEMENT

       Having considered the Agreed Motion to Dismiss With Prejudice, Pursuant to Settlement,

filed by Plaintiff PanTaurus LLC (“PanTaurus”) and agreed by Defendant Data Locker Inc.

(“Data Locker”), the Court is of the opinion that such Motion should be GRANTED.

        It is therefore ORDERED that PanTaurus’s claims against Data Locker are dismissed

with prejudice, with each party to bear its own costs, expenses and attorneys’ fees.
